            Case 18-40443-KKS      Doc 72      Filed 01/03/20    Page 1 of 7




                  UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

In Re: ROGER UNGER                                              Case No.: 18-40443KKS

     Debtor                                   Chapter:                     7
______________________________________________//

                       MOTION FOR AMENDED ORDER

      COMES NOW, the Trustee, SHERRY F. CHANCELLOR, and files this

her Motion for Amended Order and in support thereof would state as follows:

      1.     The Court entered an Order (Doc. 70) granting the Trustee's Motion

to Sell (Doc. 64) on or about July 18, 2019.

      2.     The amount of the sale and the terms have not changed; however, the

name of the buyers has changed.

      3.     A copy of the Amended Order is attached hereto and incorporated

herein by reference.

      4.     The proposed Amendment changes only the name of the buyers.

      WHEREFORE, the Trustee respectfully prays that this Court will enter an

Order and therein authorize the Amendment of the Order entered at Docket

Number 70 to reflect the buyers as Monica and Wojciech Rutkowski and grant any
            Case 18-40443-KKS      Doc 72   Filed 01/03/20   Page 2 of 7




other and further relief that this Court may deem just and proper.

      Respectfully submitted this the 3rd day of January 2020.

                                             /s/ SHERRY F. CHANCELLOR
                                             SHERRY F. CHANCELLOR
                                             Trustee
                                             619 West Chase Street
                                             Pensacola, Florida 32502
                                             850-436-8445
                                             Florida Bar 434574


                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing Application for
Compensation has been provided to Ethan Way, Esquire at
ethan@waylawfirm.com, and Assistant United States Trustee, Charles Edwards,
Esquire, USTPRegion21.TL.ECF@usdoj.gov, electronically this the 3rd day of
January 2020.


                                             /s/ SHERRY F. CHANCELLOR
                                             SHERRY F. CHANCELLOR
                                             Trustee
            Case 18-40443-KKS      Doc 72     Filed 01/03/20    Page 3 of 7



                 'UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

In re: Roger Unger                                             Case No.: 18-40443KKS
                                                               Chapter 7
DEBTOR                    /

   AMENDED ORDER GRANTING CHAPTER 7 TRUSTEE’S MOTION
   TO (I) APPROVE A SHORT SALE OF REAL PROPERTY FREE AND
   CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS
    PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m), (II) SURCHARGE
   AGREEMENT BETWEEN SECURED LENDER AND THE ESTATE,
                AND (III ) OTHER RELIEF (DOC. 64)

      THIS CASE came before the court to consider the Chapter 7 Trustee's Motion
to (I) Approve a Short Sale of the Real Property Free and Clear of Liens, Claims,
Encumbrances, and Interests Pursuant to 11 U.S.C. §363(b), (f), and (m), II
Surcharge Agreement Between the Secured Lender and the Estate and (III) Other
Relief (Doc. 64) (the “Motion”). The Motion was served upon all interested parties
informing the parties of their opportunity to respond within 21 days of the date of
service; no party filed a response within the time permitted; and the Court therefore
considers the Motion unopposed. Accordingly, it is:
      ORDERED and ADJUDGED as follows:
      1.     The Motion is GRANTED.
      2.     The Trustee is authorized to sell the real property described as

follows:

      THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE
      COUNTY OF LEON, STATE OF FLORIDA, AND IS DESCRIBED AS


                                   Page 1 of 5 Pages
               Case 18-40443-KKS     Doc 72     Filed 01/03/20   Page 4 of 7



       FOLLOWS: LOT 7, BLOCK "A", PINE GROVE, A SUBDIVISION AS
       PER MAP OR PLAT THEREOF, RECORDED IN PLAT BOOK 3, PAGE
       15, OF THE PUBLIC RECORDS OF LEON COUNTY, FLORIDA.
       Parcel ID: 111985 A0070
more commonly known as, 504 TRUETT DR TALLAHASSEE, FL 32303 (the

“Real Property”), for $135,000.00 conditioned on the consent of its lienholder(s),

and in accordance with the terms provided for in the Motion.

       3.      The Trustee is authorized to pay the secured mortgage creditors, Mr.

Cooper, and Regions (also known as “Secured Creditor”) the full amount of their

lien as of the date of closing or other amount agreeable to the Secured Creditor to

release their lien.

       4.      The Trustee is authorized to take any all actions and to execute any

and all documents necessary and appropriate to effectuate and consummate the

terms of said sale, including, executing a deed conveying the interests of the

Debtor in the Real Property to Monica and Wojciech Rutkowski (the “Buyers”).

       6.      Pursuant to Section 363(f) of the Bankruptcy Code, effective upon
closing, the sale of the Real Property will vest in the Buyer(s) all right, title and
interest of the Debtors and the bankruptcy estate in the Real Property, free and
clear of the liens, claims or interests listed below (collectively, the “Affected
Interests”):

                      1. Roger Unger, Debtor, name on deed
                      2. Mr. Cooper, mortgage lienholder
                      3. Regions, mortgage lienholder

                                     Page 2 of 5 Pages
              Case 18-40443-KKS     Doc 72     Filed 01/03/20   Page 5 of 7




        6.    This Order is and shall be effective as a determination that, upon and

subject to the occurrence of the closing of the sale, all Affected Interests have been

and hereby are adjudged and declared to be unconditionally released as to the Real

Property.

        7.    The Buyer has not assumed any liabilities of the Debtor.

        8.    The Trustee, and any escrow agent upon the Trustee’s written

instruction, shall be authorized to make such disbursements on or after the closing

of the sale as are required by the purchase agreement or order of this Court,

including, but not limited to, (a) all delinquent real property taxes and outstanding

post-petition real property taxes pro-rated as of the closing with respect to the real

property included among the purchased assets; and (b) other anticipated closing

costs

        Total Sales/Brokers Commission:
        2% to Lord & Stanley Realty Inc
        2% to Regal Homes, LLC
        2% to BK Global Real Estate Services
        Bankruptcy Estate Fee
        (incl. 506(c) surcharge, Trustee Liability Insurance)
        Satisfaction of Liens

Without further order of the court, the Trustee is authorized to pay closing costs.




                                    Page 3 of 5 Pages
             Case 18-40443-KKS      Doc 72     Filed 01/03/20   Page 6 of 7



      9.     Except as otherwise provided in the Motion, the Real Property shall

be sold, transferred, and delivered to Buyers on an “as is, where is” or “with all

faults” basis.

      10.    Buyer is approved as a buyers in good faith in accordance with

Section 363(m) of the Bankruptcy Code, and Buyer shall be entitled to all

protections of Section 363(m) of the Bankruptcy Code.

      11.    This Court retains jurisdiction to enforce and implement the terms and

provisions of this Order and the purchase agreement, all amendments thereto, any

waivers and consents thereunder, and each of the documents executed in

connection therewith in all respects, including retaining jurisdiction to (a) compel

delivery of the Real Property to the Buyer(s), (b) resolve any disputes arising under

or related to the purchase agreement, and (c) resolve any disputes regarding liens,

claims, or interests asserted against the Real Property.

      12.    The purchase agreement and any related documents or other

instruments may be modified, amended or supplemented by the parties thereto, in a

writing signed by both parties without further order of the Court, provided that any

such modification, amendment or supplement does not have a material adverse




                                    Page 4 of 5 Pages
             Case 18-40443-KKS     Doc 72     Filed 01/03/20   Page 7 of 7




effect on the Debtors’ bankruptcy estate.

      DONE AND ORDERED this the ____ day of January 2020.

                                               ______________________________
                                               KAREN K. SPECIE
                                               United States Bankruptcy Judge

This Order Prepared by: Sherry F. Chancellor,

CC: All Parties in Interest

Sherry F. Chancellor is hereby directed to serve a copy of this order on interested
parties and file a certificate of service within 3 days of entry of the order




                                   Page 5 of 5 Pages
